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                                      Zhannetta Kliushina



Dear Judge,

My name is Zhannetta Kliushina and I am married to Vladislav Kliushin. We have been married since
2014 and have been together much longer. Vlad has five great kids, two from his first marriage and
three from our marriage. The children are between 6 and 14 years old and tremendously miss their
father. Ever since their birth, Vlad has been an enormous part of the children’s lives. He would do
anything for them. He always makes time for them and makes each of them feel special. I honestly do
not know a more decent person than my husband. He is a loving husband, a kind friend, and a caring
father.

I constantly receive words of gratitude for him from his colleagues and friends. Over the years of our
marriage, I witnessed him help friends, family, and even complete strangers. He even helped me
during one of the worst times in my life. My husband sacrifices his personal time to solve other
people’s problems. He is a man of his word and if he makes a promise, he will always keep it. He
strives to be a great role model for our kids, who all look up to him. Vlad is an exemplary spouse and
father. I couldn't have wished for a better partner in my life.

Even in the most difficult times, Vlad always united us, united our family and did everything to make
us happy. Our children adore him and miss him very much. Vlad’s arrest has been very difficult on
our entire family. Nothing has been the same for more than 2 years. Because of Vlad’s arrest his two
children from his prior marriage are not allowed to see our children. Our children are growing up
without a father, without their siblings, and it is difficult for me to raise them alone. The kids have
been faced with questions about their father and ask me all the time when he is going to return home.
All I can do is give them hope that we will soon be reunited as a family.

I have also been struggling personally without the support of Vlad, who was such an important part of
our lives. Not only have I been raising the kids, but I also have to make sure everything Vlad did for
his family, his employees, and everyone else in our lives is taken care of.

I can tell you that Vlad is not a person driven by greed or dishonesty. He is one of the most caring and
selfless people I know. A lot of bad things have been said about him, but that is not the person that I
know and lived with for more than a decade. I hope you see that as well and allow him to come home
as soon as possible.


Kindest regards,
Zhannetta Kliushin
